Case 2:20-cv-13134-LVP-RSW ECF No. 145, PageID.5252 Filed 07/07/21 Page 1 of 4




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE
 RUBINGH,                                        No. 2:20-cv-13134


               Plaintiffs,                       Hon. Linda V. Parker
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, et al,

              Defendants,

  and

 CITY OF DETROIT, et al,

              Intervenor-Defendants.

                       STIPULATED ORDER
          RESETTING HEARING ON MOTIONS FOR SANCTIONS

        IT IS STIPULATED AND AGREED by and between the undersigned

counsel for the parties that a hearing will be held via video conference on July 12,

2021 at 8:30 a.m. regarding the following motions:

        Motion for Sanctions – ECF No. 69


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      Motion for Sanctions – ECF No. 78

      Motion for Sanctions – ECF No. 105

The public may request access to view the proceeding by visiting the Court's

website: http://www.mied.uscourts.gov.

      IT IS SO ORDERED.

                                               s/ Linda V. Parker
                                               LINDA V. PARKER
                                               U.S. DISTRICT JUDGE
 Dated: July 7, 2021


STIPULATED TO AND APPROVED BY:

Date: July 2, 2021

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